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FoR THE WESTERN DtsTiucT oF TENNESSEE °"P’/Lp pt 557
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JOHN LAWRENCE, )
)
Plaintiff, )
)

VS. ) NO. 05-1011-T-An
)
BENTON COUNTY, TENNESSEE, )
et al., )
)
Defendants. )

 

ORDER GRANTING MOTION FOR CONTINUANCE FOR PLAINTIFF
TO RESPOND TO MOTION FOR SUMMARY IUDGMENT

 

On May 5, 2005, Defendant Bank of Camden filed a motion for summary judgment
Plaintiff has filed a response to motion for summary judgment and/or motion for
continuance [Docket #s 9 & 10] in Which he seeks additional time in Which to conduct
discovery before submitting a more in-depth response Plaintiff asserts that Defendant’s
motion Was filed before the entry of the scheduling order and before any discovery has been
conducted

"[S]ummary judgment is improper if the non-movant is not afforded a sufficient
opportunity for discovery." Vance v. United States, 90 F.3d 1145, 1148 (6‘h Cir.l996)
(citing White's Landing Fisheries. lnc. v. Buchholzer, 29 F.3d 229, 231-32 (6th Cir. 1994));

accord Plott v. General Motors Cort)., 71 F.3d 1190 (6th Cir.1995). The non-movant bears

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the obligation to inform the district court of its need for discovery. Fed. R. Civ. P. 56(f). lf
the non-movant makes a proper showing of a need for discovery, the district court‘s entry
of summary judgment Without permitting him to conduct discovery Will constitute an abuse
of discretion. White‘s Landing Fisheries. 29 F.3d at 23 1-32. Instead, the court should either
deny the motion "or may order a continuance to permit affidavits to be obtained or
depositions to be taken or discovery to be had or may make such other order as is just.“ Fed.
R. Civ. P. 56(f).

Because Plaintiff has shown a need for additional discovery before responding to
Defendant’s motion for summary judgment, Plaintiff Will be given an additional sixty (60)
days from the entry of this order in which to conduct discovery and to tile a supplemental
response

IT IS SO ORDERED.

%z.M-Q

JAM . TODD
UNI D STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01011 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

